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15                               UNITED STATES DISTRICT COURT
16                              CENTRAL DISTRICT OF CALIFORNIA
17
18   SECURITIES AND EXCHANGE                       Civil Action No.: 2:21-cv-7339-CAS-AS
     COMMISSION,
19                                                 DEFENDANTS       SHE    BEVERAGE
                                 Plaintiff,        COMPANY, INC.’S, LUPE L. ROSE’S,
20
           v.                                      SONJA F. SHELBY’S AND KATHERINE E.
21                                                 DIRDEN’S     ANSWER     TO    THE
     SHE BEVERAGE COMPANY, INC.,                   COMPLAINT
22   LUPE L. ROSE, SONJA F. SHELBY
     AND KATHERINE E. DIRDEN,
23                                                 JURY TRIAL DEMANDED
                                 Defendants.
24
25         Defendants She Beverage Company, Inc. (“SheBev”), Lupe L. Rose (“Rose”), Sonja F.
26   Shelby (“Shelby”) and Katherine E. Dirden (“Dirden”) (SheBev, Rose, Shelby, and Dirden are
27
     collectively referred to herein as the “Defendants”), by and through undersigned counsel,
28
                                                    1
                                       DEFENDANTS’ ANSWER
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 1   hereby files their Answer to the Complaint filed by Plaintiff Securities and Exchange
 2   Commission (“Plaintiff” or “SEC”) by responding to each of the numbered paragraphs as
 3
     follows:
 4
 5                                   JURISDICTION AND VENUE

 6          1.     Paragraph 1 contains legal conclusions to which no response is required. To the
 7
     extent a response is deemed required, Defendants deny the allegations contained in paragraph 1.
 8
 9          2.     The allegations in Paragraph 2 contain legal conclusions to which no response is

10   required, and/or are vague and ambiguous in terms and scope which precludes Defendants from
11
     responding for lack of information or knowledge. To the extent a response is deemed required,
12
     Defendants deny the allegations contained in paragraph 2.
13
14          3.     Paragraph 3 contains legal conclusions to which no response is required. To the
15   extent a response is deemed required, Defendants deny the allegations contained in paragraph 3.
16
                                               SUMMARY
17
18          4.     Defendants admit that SheBev is located in Lancaster, California and produces

19   beverages targeting female customers, among other products, services and events. The
20
     remaining allegations contained in paragraph 4 are denied.
21
            5.     Defendants deny the allegations in paragraph 5.
22
23          6.     The allegations contained in paragraph 6 are vague and ambiguous as to timeline
24   and scope, contain conclusions of law, and pertain to parties other than Defendants; therefore,
25
     no response to these allegations is required. To the extent a response is deemed required,
26
27   Defendants deny the allegations contained in paragraph 6.

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 1          7.     Defendants deny the allegations contained in paragraph 7.
 2          8.     Defendants admit that the SEC seeks the relief sought in this action as alleged in
 3
     paragraph 8, but deny that it is entitled to any of the relief sought.
 4
 5                                          THE DEFENDANTS

 6          9.     The allegation in paragraph 9 stating that “SHE Beverage promotes itself
 7
     primarily as a beverage company” is vague and ambiguous; therefore, no response to this
 8
 9   allegation is required. To the extent a response is deemed required, Defendants deny that

10   allegation contained in paragraph 9, and affirmatively allege that SheBev sells other products
11
     and has other business lines. Defendants admit the other allegations in paragraph 9.
12
            10.    Rose admits to the allegations contained in paragraph 10.
13
14          11.    The allegations contained in paragraph 11 are vague and ambiguous as to the
15   timeframe of Shelby’s positions. Shelby denies that she is held out as the roles stated in
16
     paragraph 11. Shelby admits that she lives in Palmdale, California and that she has never been
17
18   registered with the SEC and has never held any securities licenses.

19          12.    Dirden admit to the allegations contained in paragraph 12.
20
                                           THE ALLEGATIONS
21
            13.    Defendants admit to the allegations contained in paragraph 13.
22
23          14.    Defendants admit to the allegations contained in paragraph 14.
24          15.    Defendants admit that that SheBev has promoted itself as a woman-owned
25
     beverage manufacturer, selling beer and other brewed drinks, wine and bottled water aimed at
26
27   female consumers. Defendants deny that the remaining allegations in paragraph 15, and

28
                                                        3
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 1   affirmatively allege that SheBev has and promotes other products and other business lines.
 2          16.      The referenced term “offering documents” is vague and undefined, and
 3
     Defendants therefore lack sufficient information or knowledge to respond to the allegations in
 4
 5   paragraph 16.

 6          17.      The referenced term “offering documents” is vague and undefined, and
 7
     Defendants therefore lack sufficient information or knowledge to respond to the allegations in
 8
 9   paragraph 17.

10          18.      The referenced term “offering documents” is vague and undefined, and
11
     Defendants therefore lack sufficient information or knowledge to respond to the allegations in
12
     paragraph 18.
13
14          19.      Defendants admit that at some point in time, not specified in paragraph 19, there
15   was a three-person executive team. The other allegations contained in paragraph 19 are vague
16
     and ambiguous as to time frame and scope, including but not limited to reference to the
17
18   undefined “relevant period,” and contain conclusions of law as to “ultimate decision-making

19   authority” and “control”; therefore, no response to these allegations is required. To the extent a
20
     response is deemed required, Defendants deny the allegations contained in paragraph 19.
21
            20.      Defendants admit that at some point in time, not specified in paragraph 20, there
22
23   was a three-person executive team. The other allegations contained in paragraph 20 are vague
24   and ambiguous as to time frame and scope, including but not limited to reference to the
25
     undefined “relevant period”; therefore, no response to these allegations is required. To the extent
26
27   a response is deemed required, Defendants deny the allegations contained in paragraph 20.

28
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                                        DEFENDANTS’ ANSWER
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 1          21.    Defendants admit that at some point in time, not specified in paragraph 21, there
 2   was a three-person executive team. The others allegations contained in paragraph 21 are vague
 3
     and ambiguous as to time frame and scope, including but not limited to reference to the
 4
 5   undefined “relevant period”; therefore, no response to these allegations is required. To the extent

 6   a response is deemed required, Defendants deny the allegations contained in paragraph 21.
 7
            22.    Defendants admit to the allegations in paragraph 22.
 8
 9          23.    Defendants admit to the allegations in paragraph 23.

10          24.    Shelby denies the use of the email: Sonja@shebeverages.com. Defendants admit
11
     to the remaining allegations in paragraph 24.
12
            25.    Defendants deny the allegations contained in paragraph 25.
13
14          26.    Defendants admit the allegations contained in paragraph 26.
15          27.    Defendants admit to the allegations in paragraph 27.
16
            28.    The allegations in paragraph 28 are vague and ambiguous because the time frame
17
18   is undefined, as to the meaning of the terms “offering memoranda” and “investment guides,”

19   and because the allegation is compound as to “offered” and sold; therefore, no response to these
20
     allegations is required. To the extent a response is deemed required, Defendants admit that
21
     SheBev offered and sold securities but deny the allegations regarding how it offered and sold
22
23   securities.
24          29.    Defendants admit that SheBev offered and sold its shares through an offering
25
     memorandum (“2017 OM”), but states that the remaining allegations as to date ranges are vague
26
27   and ambiguous and Defendants therefore lack sufficient knowledge or information to respond to

28
                                                     5
                                      DEFENDANTS’ ANSWER
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 1   the remaining allegations in paragraph 29 and therefore deny the same.
 2          30.    Defendants admit to the allegations in paragraph 30.
 3
            31.    Defendants admit to the allegations in paragraph 31.
 4
 5          32.    Defendants admit that there was a cover letter and subscription agreement

 6   included with the 2017 OM, but affirmatively state that these documents speak for themselves as
 7
     to their legal meaning and contents, and Defendants deny any characterization of the documents
 8
 9   in paragraph 32 that conflicts with the language of the documents or takes them out of context.

10   Defendants admit that, among other things, the subscription agreement requested prospective
11
     investors confirm their status as accredited investors.
12
            33.    Defendants admit to the allegations in paragraph 33.
13
14          34.    Defendants admit that SheBev offered and sold its stock to investors through a
15   private placement memorandum dated June 20, 2018 (the 2018 PPM), but states that the
16
     remaining allegations as to date ranges are vague and ambiguous and Defendants therefore lack
17
18   sufficient knowledge or information to respond to the remaining allegations in paragraph 34 and

19   therefore deny the same.
20
            35.    Defendants admit to the allegations in paragraph 35.
21
            36.    Defendants admit that the 2018 PPM offered She Beverage’s common stock at
22
23   $2.50 per share up to $25,000,000 but state that the 2018 PPM speaks for itself as to its legal
24   meaning and contents, and Defendants deny any characterization of the 2018 PPM in paragraph
25
     36 that conflicts with the language of the document or takes it out of context, including the
26
27   characterization that the 2018 PPM offered up to $25 million of SheBev common stock.

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                                       DEFENDANTS’ ANSWER
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 1          37.      The referenced “PPM” speaks for itself as to its legal meaning and contents and
 2   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
 3
     the language in that document or takes such language out of context.
 4
 5          38.      Defendants admit that they provided the 2018 PPM, upon request, to some

 6   individuals during in-person meetings and, upon request, by email, but deny the remaining
 7
     allegations in paragraph 38.
 8
 9          39.      Defendants admit that Rose, Shelby and Dirden reviewed portions of the 2018

10   PPM, including the disclosures on use of proceeds, prior to providing it to individuals, but deny
11
     the remaining allegations in paragraph 39. Defendants also state that they relied in good faith on
12
     other professionals and consultants in preparing the PPM, as to the language used in the PPM,
13
14   and the meaning of the provisions of the PPM.
15          40.      The allegations contained in paragraph 40 are vague and ambiguous, and contain
16
     conclusions of law regarding solicitation; therefore, no response to these allegations is required.
17
18   To the extent a response is deemed required, Defendants deny the allegations contained in

19   paragraph 40.
20
            41.      Defendants admit that they created the investment guide which was given to
21
     current investors and deny all other allegations contained in paragraph 41.
22
23          42.      Defendants admit to that the 2018 PPM and 2018 Investment Guide were available
24   on one of SheBev’s websites, along with other information about the company, for a period of
25
     time, but state that the remaining allegations in paragraph 42 regarding the time frame and use
26
27   of the term “offering” are vague and ambiguous and constitute a legal conclusion, and therefore

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                                        DEFENDANTS’ ANSWER
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 1   deny the remaining allegations.
 2          43.      Defendants admit to the allegations in paragraph 43, but state that the referenced
 3
     document speaks for itself as to its legal meaning and contents and deny any characterization of
 4
 5   that document that is inconsistent therewith.

 6          44.      The allegations contained in paragraph 44 are vague and ambiguous, and contain
 7
     conclusions of law regarding solicitation; therefore, no response to these allegations is required.
 8
 9   To the extent a response is deemed required, Defendants deny the allegations contained in

10   paragraph 44.
11
            45.      Defendants admit that the referenced guide was on the investor website but lack
12
     sufficient knowledge to respond to the allegations contained in paragraph 45 regarding the time
13
14   period and which specific website. To the extent that a response is required, Defendants deny
15   the same.
16
            46.      Defendants admit that Rose assisted with the preparation of the 2019 Investment
17
18   Guide, and that Rose and Dirden knew it was available on one of the company’s website for

19   some period of time, but denies the remaining allegations contained in paragraph 46.
20
            47.      Paragraph 47 contains a legal conclusion to which no response is required. To the
21
     extent that a response is required, Defendants deny the same.
22
23          48.      The referenced website sections speak for themselves as to their legal meaning and
24   contents and Defendants deny any allegations to the extent that they are inconsistent with those
25
     website sections or take them out of context.
26
27          49.      Defendants states that the company’s website sections, and separate website for

28
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                                        DEFENDANTS’ ANSWER
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 1   investors, speak for themselves as to their legal meaning and contents, and Defendants deny any
 2   allegations to the extent that they are inconsistent with those website sections or take them out of
 3
     context.
 4
 5          50.    Defendants admit that SheBev sent email messages to existing investors in and

 6   after December 2017, but state that any email messages speak for themselves as to their legal
 7
     meaning and contents, and deny any allegations that are inconsistent with the emails themselves
 8
 9   or which take them out of context. Defendants further state that the remaining allegations

10   contained in paragraph 50 are vague and ambiguous regarding “promoted” and “securities
11
     offerings” and contain conclusions of law; therefore, no response to these allegations is required.
12
     To the extent a response is deemed required, Defendants deny the remaining allegations
13
14   contained in paragraph 50.
15          51.    The allegations contained in paragraph 51 are vague and ambiguous in discussing
16
     “formatted as letters to investors”, and contain conclusions of law; therefore, no response to
17
18   these allegations is required. To the extent a response is deemed required, Defendants deny the

19   allegations contained in paragraph 51. The referenced email speaks for itself as to its legal
20
     meaning and content and Defendants deny any allegations to the extent that they are inconsistent
21
     with the email or are taken out of context.
22
23          52.    The referenced email speaks for itself as to its legal meaning and content and
24   Defendants deny any allegations to the extent that they are inconsistent with the email or are
25
     taken out of context.
26
27          53.    The referenced email speaks for itself as to its legal meaning and content and

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                                                      9
                                       DEFENDANTS’ ANSWER
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 1   Defendants deny any allegations to the extent that they are inconsistent with the email or are
 2   taken out of context.
 3
            54.    The referenced email speaks for itself as to its legal meaning and content and
 4
 5   Defendants deny any allegations to the extent that they are inconsistent with the email or are

 6   taken out of context.
 7
            55.    The referenced email speaks for itself as to its legal meaning and content and
 8
 9   Defendants deny any allegations to the extent that they are inconsistent with the email or are

10   taken out of context.
11
            56.    The referenced email speaks for itself as to its legal meaning and content and
12
     Defendants deny any allegations to the extent that they are inconsistent with the email or are
13
14   taken out of context.
15          57.    The allegations contained in paragraph 57 are vague and ambiguous as to time
16
     period and scope; therefore, no response to these allegations is required. To the extent a
17
18   response is deemed required, Defendants deny the allegations contained in paragraph 57.

19          58.    Defendants admit to the allegations in paragraph 58.
20
            59.    Defendants admit to the allegations in paragraph 59.
21
            60.    Defendants admit to the allegations in paragraph 60.
22
23          61.    The allegations regarding “offering materials” are vague and ambiguous and
24   constitute legal conclusions; therefore, no response to this allegation is required. To the extent a
25
     response is deemed required, Defendants deny the allegations in paragraph 61. Defendants deny
26
27   the Plaintiff’s characterization that the 2018 PPM and the 2018 Investment Guide are defined as

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                                       DEFENDANTS’ ANSWER
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 1   “offering materials.”
 2          62.    The allegations contained in paragraph 62 are vague and ambiguous, and contain
 3
     conclusions of law; therefore, no response to these allegations is required. To the extent a
 4
 5   response is deemed required, Defendants deny the allegations contained in paragraph 62.

 6          63.    Defendant Rose admits that she hosted a “meet & greet” but not on the dated
 7
     stated in paragraph 63, and denies the remaining allegations characterizing the meeting and
 8
 9   participants. The remaining Defendants deny the allegations in paragraph 63 for lack of

10   sufficient knowledge and information.
11
            64.    The allegations in paragraph 64 are vague and ambiguous as to date of alleged
12
     conversations and are therefore denied for lack of sufficient knowledge and information.
13
14          65.    The allegations contained in paragraph 65 are vague and ambiguous, and contain
15   conclusions of law; therefore, no response to these allegations is required. To the extent a
16
     response is deemed required, Defendants deny the allegations contained in paragraph 65.
17
18          66.    Defendants admit that they did offer referral bonuses but deny the other

19   allegations contained in paragraph 66 as vague and ambiguous.
20
            67.    Defendants admit that SheBev has more than 2,000 investors in multiple states.
21
     Defendants further state that the allegations of Paragraph 67 are vague and ambiguous as to time
22
23   frame and scope and constitutes a legal conclusion as to the term “offering”; therefore, no
24   response is required. To the extent a response is deemed required, Defendants deny all of the
25
     remaining allegations in paragraph 67.
26
27          68.    Defendants deny the allegations in paragraph 68.

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                                       DEFENDANTS’ ANSWER
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 1          69.    The allegations contained in paragraph 69 are vague and ambiguous, and contain
 2   conclusions of law; therefore, no response to these allegations is required. To the extent a
 3
     response is deemed required, Defendants deny the allegations contained in paragraph 69.
 4
 5          70.    The allegations contained in paragraph 70 are vague and ambiguous, and contain

 6   conclusions of law; therefore, no response to these allegations is required. To the extent a
 7
     response is deemed required, Defendants deny the allegations contained in paragraph 70.
 8
 9          71.    Defendants admit that they signed various documents on behalf of SheBev and

10   that Defendant Rose was listed as the contact on SheBev’s press releases, but deny the legal
11
     contention that they “made” the statements as alleged in paragraph 61, and deny the remaining
12
     ambiguous and general statements alleged in paragraph 71.
13
14          72.    Defendants deny the allegations in paragraph 72.
15          73.    Defendants deny the allegations in paragraph 73.
16
            74.    The referenced “OM” speaks for itself as to its legal meaning and contents and
17
18   Defendants deny any allegations to the extent that they are inconsistent with that document or

19   takes any statement therein out of context.
20
            75.    The referenced “OM” speaks for itself as to its legal meaning and contents and
21
     Defendants deny any allegations to the extent that they are inconsistent with that document or
22
23   takes any statement therein out of context. Defendants further affirmatively deny any
24   insinuation therein that SheBev did not have a business plan or did not use any proceeds for
25
     SheBev business.
26
27          76.    Defendants admit that that the 2018 PPM contains a use of proceeds section, but

28
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 1   state that the allegations in paragraph 76 referencing the contents of the 2018 PPM are taken out
 2   of context, are incomplete and are not consistent with the language of the PPM. Among other
 3
     things, the allegations in paragraph 76 omit that: The PPM provides “estimates” of both the
 4
 5   amount of money that would be received under the offering and the use of those funds. More

 6   specifically, the offering of the PPM was set for a maximum of $25 million, but that number
 7
     was not reached, as is often the case. Based on that maximum amount, in the “Use of Proceeds”
 8
 9   section of the PPM, SheBev “estimated” that the net proceeds that it would receive $25 million,

10   and the use of those proceeds was broken into three “estimate” categories, including “Working
11
     Capital/Operating Expenses” (50%), “Inventory” (30%) and “Sales, Marketing, Salaries” (20%).
12
     Notably, there was no category for “beverages,” and no representation that any of the funds, let
13
14   alone 30% of the funds, would be used for “beverages.” Moreover, Plaintiff’s references to the
15   table showing the “use of proceeds,” also omits the following pertinent language: “The amounts
16
     set forth above are only an estimate. The Company is unable to predict precisely what amount
17
18   will be used for any particular purpose. To the extent the proceeds received are inadequate in

19   any areas of expenditures, supplemental amounts may be drawn from working capital, if any.
20
     Conversely, any amounts not required for proposed expenditures will be retained and used for
21
     working capital. Should the proceeds actually received, if any, be insufficient to accomplish the
22
23   purposes set forth above, the Company may be required to seek other sources to finance the
24   Company’s operations, including individuals and commercial lenders.” Defendants therefore
25
     affirmatively state that the PPM speaks for itself and denies all remaining allegations in
26
27   paragraph 76 except that the 2018 PPM contains a use of proceeds section.

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                                       DEFENDANTS’ ANSWER
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 1          77.    Defendants deny the allegations in paragraph 77 for the reasons stated in
 2   Paragraph 76. Defendants further state that the referenced PPM speaks for itself as to its legal
 3
     meaning and contents.
 4
 5          78.    The allegations contained in paragraph 78 are vague and ambiguous, and contain

 6   conclusions of law; therefore, no response to these allegations is required. To the extent a
 7
     response is deemed required, Defendants deny the allegations contained in paragraph 78.
 8
 9          79.    The referenced “Investment Guide” speaks for itself as to its legal meaning and

10   contents and Defendants deny any allegations to the extent that they are inconsistent with or
11
     mischaracterize that document or take statements out of context or omit other relevant
12
     statements therein.
13
14          80.    The referenced “Investment Guide” speaks for itself as to its legal meaning and
15   contents and Defendants deny any allegations to the extent that they are inconsistent with or
16
     mischaracterize that document or take statements out of context or omit other relevant
17
18   statements therein. Defendants also state that the investment guide discussed other business

19   lines and products in addition to the beverage lines.
20
            81.    Defendant deny the allegations contained in paragraph 81, including all subparts
21
     and subparagraph.
22
23          82.    Defendants deny the allegations in paragraph 82.
24          83.    The referenced “offering materials” speak for themselves as to their legal meaning
25
     and Defendants deny any allegations to the extent that they are inconsistent with those
26
27   documents. Defendants further deny that SheBev’s purchases of inventory was less than

28
                                                     14
                                       DEFENDANTS’ ANSWER
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 1   represented in any of SheBev’s documents.
 2          84.    The allegations contained in paragraph 84 are vague and ambiguous, contain
 3
     conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
 4
 5   allegations is required. To the extent a response is deemed required, Defendants deny the

 6   allegations contained in paragraph 84.
 7
            85.    Defendants deny the allegations in paragraph 85.
 8
 9          86.    Defendants deny the allegations in paragraph 86.

10          87.    Defendants deny the allegations in paragraph 87.
11
            88.    The referenced “OM” speaks for itself as to its legal meaning and contents and
12
     Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
13
14   the language in that document or takes such language out of context.
15          89.    The referenced “PPM” speaks for itself as to its legal meaning and contents and
16
     Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
17
18   the language in that document or takes such language out of context. Defendants further deny

19   the allegations and calculations in paragraph 89 as to the amount of money SheBev raised
20
     through the 2018 PPM.
21
            90.    Defendant deny the allegations contained in paragraph 90, including all subparts
22
23   and subparagraph.
24          91.    Defendants deny the allegations contained in paragraph 91.
25
            92.    Defendants deny that SheBev’s principals used investor money for their personal
26
27   expenses, and therefore deny the allegations in paragraph 92.

28
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                                      DEFENDANTS’ ANSWER
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 1          93.    The allegations contained in paragraph 93 are vague and ambiguous, contain
 2   conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
 3
     allegations is required. To the extent a response is deemed required, Defendants deny the
 4
 5   allegations contained in paragraph 93.

 6          94.    Defendants deny the allegations in paragraph 94.
 7
            95.    Defendants deny the allegations in paragraph 95.
 8
 9          96.    The referenced “PPM” speaks for itself as to its legal meaning and contents and

10   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
11
     the language in that document or takes such language out of context.
12
            97.    The referenced “PPM” speaks for itself as to its legal meaning and contents and
13
14   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
15   the language in that document or takes such language out of context.
16
            98.    The referenced “PPM” speaks for itself as to its legal meaning and contents and
17
18   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize

19   the language in that document or takes such language out of context.
20
            99.    Defendants deny the allegations in paragraph 99 and affirmatively state that the
21
     referenced statement speaks for itself as to its legal meaning and Defendants deny any
22
23   allegations to the extent that they are inconsistent with that statement or to the extent that the
24   Plaintiff mischaracterizes or misquotes the statements from the PPM. Furthermore, Defendants
25
     state that the Plaintiff misquotes the statement in the PPM which actually states that the
26
27   company has generated “approximately $4-5 million in revenue.”

28
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                                        DEFENDANTS’ ANSWER
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 1            100.   Defendants deny the allegations contained in paragraph 100. Furthermore,
 2   Defendants state that the “event revenue” listed in paragraph 101, also includes merchandise
 3
     sales.
 4
 5            101.   The referenced “financial statements” speak for themselves as to their legal

 6   meaning and Defendants deny any allegations to the extent that they are inconsistent with those
 7
     documents. Furthermore, Defendants state that they disclosed company financials to investors
 8
 9   upon request prior to the filing of the Form S-1, but they were not audited financials. The

10   audited financials were completed just prior to the filing of Form S-1.
11
              102.   Defendants deny the allegations in paragraph 102 to the extent that they are
12
     predicated on that erroneous characterization of the PPM, and affirmatively state that the audited
13
14   financial statements speak for themselves, and Defendants deny any allegations to the extent that
15   they are inconsistent with that statement. Furthermore, Defendants state that “event revenue”
16
     includes product and merchandise sales that occurred during the events.
17
18            103.   The allegations contained in paragraph 103 are vague and ambiguous, contain

19   conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
20
     allegations is required. To the extent a response is deemed required, Defendants deny the
21
     allegations contained in paragraph 103.
22
23            104.   Defendants deny the allegations in paragraph 104.
24            105.   Defendants deny the allegations in paragraph 105.
25
              106.   Defendants deny the allegations in paragraph 106. Defendants affirmatively state
26
27   that they gave multiple tours of the facility to show the progress of the construction and

28
                                                      17
                                        DEFENDANTS’ ANSWER
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 1   represented that it was in progress and continually gave updates on the progress to investors.
 2          107.   The referenced “email” speaks for itself as to its legal meaning and contents and
 3
     Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
 4
 5   the language in that document or takes such language out of context.

 6          108.   The referenced “press release” speaks for itself as to its legal meaning and
 7
     contents and Defendants deny any allegations to the extent that they are inconsistent with or
 8
 9   mischaracterize the language in that document or takes such language out of context.

10          109.   The referenced “press release” speaks for itself as to its legal meaning and
11
     contents and Defendants deny any allegations to the extent that they are inconsistent with or
12
     mischaracterize the language in that document or takes such language out of context.
13
14          110.   The referenced “press release” speaks for itself as to its legal meaning and
15   contents and Defendants deny any allegations to the extent that they are inconsistent with or
16
     mischaracterize the language in that document or takes such language out of context.
17
18          111.   The allegations in paragraph 111 are vague and ambiguous in that the referenced

19   press releases are not identified; therefore, no response is required. To the extent a response is
20
     required, Defendants state that referenced “press releases” speak for themselves as to their legal
21
     meaning and contents and Defendants deny any allegations to the extent that they are
22
23   inconsistent with or mischaracterize those documents or take statements therein out of context.
24          112.   The referenced “press release” speaks for itself as to its legal meaning and
25
     contents and Defendants deny any allegations to the extent that they are inconsistent with or
26
27   mischaracterize the language in that document or takes such language out of context.

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                                       DEFENDANTS’ ANSWER
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 1          113.   The referenced “investment guide” speaks for itself as to its legal meaning and
 2   contents and Defendants deny any allegations to the extent that they are inconsistent with or
 3
     mischaracterize the language in that document or takes such language out of context.
 4
 5          114.   The referenced “Form S-1” speaks for itself as to its legal meaning and contents

 6   and Defendants deny any allegations to the extent that they are inconsistent with or
 7
     mischaracterize the language in that document or takes such language out of context.
 8
 9          115.   The allegations contained in paragraph 115 are vague, ambiguous and confusing

10   as the complaint does not allege that Defendants represented that the Brewery was
11
     “operational”; therefore, no response to these allegations is required. To the extent a response is
12
     deemed required, Defendants deny the allegations contained in paragraph 115.
13
14          116.   Defendants admit that it does not yet have an operational brewery but is close to
15   having it operational, which is the same representation made to investors. Delays have
16
     occurred, in part, because of permit and construction delays due to city and county delays and
17
18   requirements and Covid-19. SheBev had brewers who brewed proprietary products and leased

19   equipment at the contract facility. Defendants deny all other allegations in paragraph 116 that
20
     are not consistent with this statement.
21
            117.   Defendants deny the allegations in paragraph 117.
22
23          118.   Defendants state that construction is not complete, but it has been ongoing and is
24   close to completion. Delays have occurred, in part, because of permit and construction delays
25
     due to city and county delay and requirements and Covid-19. Equipment has been installed.
26
27   Defendants deny all other allegations in paragraph 118 that are not consistent with this

28
                                                     19
                                       DEFENDANTS’ ANSWER
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 1   statement.
 2          119.   Defendants admit that it has not received a certificate of occupancy yet from the
 3
     city which will come after the final inspection, but Defendants do have an Assembly Occupancy
 4
 5   approval from the fire department for Brewery / Bar / Banquet Hall. Also, delays in the

 6   construction have occurred, in part, because of permit and construction delays due to city and
 7
     county delay requirements and Covid-19.
 8
 9          120.   Defendants admit that it has not brewed on site because the location is not yet

10   operational but is still in process. Delays in the construction have occurred, in part, because of
11
     permit and construction delays due to city, county delay and requirements and Covid-19.
12
            121.   Defendants admit that its small beer manufacturer license was suspended and deny
13
14   all other allegations contained in paragraph 121.
15          122.   The allegations contained in paragraph 122 are vague and ambiguous, contain
16
     conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
17
18   allegations is required. To the extent a response is deemed required, Defendants deny the

19   allegations contained in paragraph 122.
20
            123.   Defendants deny the allegations contained in paragraph 123.
21
            124.   Defendants deny the allegations contained in paragraph 124.
22
23          125.   Defendants deny the allegations contained in paragraph 125.
24          126.   The referenced “Investment Guide” speaks for itself as to its legal meaning and
25
     contents and Defendants deny any allegations to the extent that they are inconsistent with or
26
27   mischaracterize the language in that document or takes such language out of context.

28
                                                     20
                                       DEFENDANTS’ ANSWER
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 1          127.   The referenced “recorded meeting” speaks for itself as to its legal meaning and
 2   Defendants deny any allegations to the extent that they are inconsistent with that recording.
 3
     Furthermore, Defendants deny that an investor meeting occurred on or about June 2, 2019.
 4
 5          128.   In response to the allegations contained in paragraph 128, Defendants state that it

 6   did have proprietary formulas but did not have FDA-approval as it was not necessary nor
 7
     applicable to their formulas. Also, Defendants state that they made representation that they
 8
 9   manufactured at an “FDA approved facility.”

10          129.   Defendants admit to the allegations contained in paragraph 129.
11
            130.   Defendants admit to the allegations contained in paragraph 130.
12
            131.   Defendants deny the allegations contained in paragraph 131.
13
14          132.   Defendants admit to the allegations contained in paragraph 132, but state that their
15   bottled water did not require FDA approval and that Defendants made statements that they
16
     manufactured at an “FDA approved facility.”
17
18          133.   The allegations contained in paragraph 133 are vague and ambiguous, contain

19   conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
20
     allegations is required. To the extent a response is deemed required, Defendants deny the
21
     allegations contained in paragraph 133.
22
23          134.   Defendants deny the allegations in paragraph 134.
24          135.   Defendants deny the allegations in paragraph 135.
25
            136.   Defendants admit to the allegations contained in paragraph 136.
26
27          137.   The referenced “Investment Guide” speaks for itself as to its legal meaning and

28
                                                    21
                                      DEFENDANTS’ ANSWER
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 1   contents and Defendants deny any allegations to the extent that they are inconsistent with or
 2   mischaracterize the language in that document or takes such language out of context.
 3
            138.   The referenced recording speaks for itself as to its legal meaning and Defendants
 4
 5   deny any allegations to the extent that they are inconsistent with that recording. Moreover,

 6   Defendants deny that an “investor meeting” occurred on that date. Rose spoke at a women’s
 7
     conference that did not involve the company or investors. Defendants also deny the
 8
 9   characterization of “touted” as ambiguous, unclear, and untrue.

10          139.   Defendant deny the allegations contained in paragraph 139.
11
            140.   The allegations contained in paragraph 140 are vague and ambiguous; therefore,
12
     no response to these allegations is required. To the extent a response is deemed required,
13
14   Defendants deny the allegations contained in paragraph 140.
15          141.   The allegations contained in paragraph 141 pertain to parties other than
16
     Defendants; therefore, no response to these allegations is required. To the extent a response is
17
18   deemed required, Defendants deny the allegations contained in paragraph 141.

19          142.   The allegations contained in paragraph 142 are vague and ambiguous, contain
20
     conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
21
     allegations is required. To the extent a response is deemed required, Defendants deny the
22
23   allegations contained in paragraph 142.
24          143.   Defendants deny the allegations contained in paragraph 143.
25
            144.   Defendants deny the allegations contained in paragraph 144.
26
27          145.   The referenced “Investment Guide” speaks for itself as to its legal meaning and

28
                                                     22
                                      DEFENDANTS’ ANSWER
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 1   contents and Defendants deny any allegations to the extent that they are inconsistent with or
 2   mischaracterize the language in that document or takes such language out of context.
 3
            146.   The referenced “records” speak for themselves as to their legal meaning and
 4
 5   Defendants deny any allegations to the extent that they are inconsistent with those documents.

 6          147.   The allegations contained in paragraph 147 are vague and ambiguous, contain
 7
     conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
 8
 9   allegations is required. To the extent a response is deemed required, Defendants deny the

10   allegations contained in paragraph 147.
11
            148.   Defendants deny the allegations in paragraph 148.
12
            149.   Defendants deny the allegations in paragraph 149.
13
14          150.   Defendants admit that the share price was at $2.50 and that the share price would
15   likely go up with an IPO, which Defendants believed was true and correct based on analysis and
16
     projections from consultants and professionals. The other allegations contained in paragraph
17
18   150 are vague and ambiguous as to timeframe and the “offering”, and contain conclusions of

19   law including materiality; therefore, no response to these allegations is required. To the extent a
20
     response is deemed required, Defendants deny the allegations contained in paragraph 150.
21
            151.   The allegations made in paragraph 151 are incomplete. Defendants state that they
22
23   made representations that they were working on the IPO and had a goal to file an IPO, which
24   were true statements. Defendants also state that they needed audited financials in order to file
25
     the IPO and made those representations to investors. Once the audited financials were
26
27   completed, the IPO was in fact filed. A combination of Covid-19 issues which caused market

28
                                                     23
                                       DEFENDANTS’ ANSWER
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 1   uncertainty and instability, and the SEC investigation into the SheBev at the same time, resulted
 2   in not going forward with the Form S-1at that time. The other allegations contained in
 3
     paragraph 151 are vague and ambiguous, and contain conclusions of law; therefore, no response
 4
 5   to these allegations is required. To the extent a response is deemed required, Defendants deny

 6   the allegations contained in paragraph 151.
 7
           152.   The referenced “email” speaks for itself as to its legal meaning and contents and
 8
 9   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize

10   the language in that document or takes such language out of context.
11
           153.   The referenced “notice to shareholders” speaks for itself as to its legal meaning
12
     and contents and Defendants deny any allegations to the extent that they are inconsistent with or
13
14   mischaracterize the language in that document or takes such language out of context.
15         154.   The referenced “press release” speaks for itself as to its legal meaning and
16
     contents and Defendants deny any allegations to the extent that they are inconsistent with or
17
18   mischaracterize the language in that document or takes such language out of context.

19         155.   The referenced “email” speaks for itself as to its legal meaning and contents and
20
     Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
21
     the language in that document or takes such language out of context.
22
23         156.   The referenced “email” speaks for itself as to its legal meaning and contents and
24   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
25
     the language in that document or takes such language out of context.
26
27         157.   The referenced “press release” speaks for itself as to its legal meaning and

28
                                                    24
                                      DEFENDANTS’ ANSWER
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 1   contents and Defendants deny any allegations to the extent that they are inconsistent with or
 2   mischaracterize the language in that document or takes such language out of context.
 3
            158.   The referenced “registration” speaks for itself as to its legal meaning and contents
 4
 5   and Defendants deny any allegations to the extent that they are inconsistent with or

 6   mischaracterize the language in that document or takes such language out of context.
 7
            159.   The referenced “financial statements” speak for themselves as to their legal
 8
 9   meaning and Defendants deny any allegations to the extent that they are inconsistent with those

10   documents.
11
            160.   The allegations contained in paragraph 160 are vague and ambiguous, contain
12
     conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
13
14   allegations is required. To the extent a response is deemed required, Defendants deny the
15   allegations contained in paragraph 160.
16
            161.   Defendants deny the allegations contained in paragraph 161.
17
18          162.   Defendants deny the allegations contained in paragraph 162.

19          163.   Defendants admit to the allegations contained in paragraph 163.
20
            164.   The referenced “press release” speaks for itself as to its legal meaning and
21
     contents and Defendants deny any allegations to the extent that they are inconsistent with or
22
23   mischaracterize the language in that document or takes such language out of context.
24          165.   The referenced “email” speaks for itself as to its legal meaning and contents and
25
     Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
26
27   the language in that document or takes such language out of context.

28
                                                     25
                                      DEFENDANTS’ ANSWER
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 1          166.   The referenced “email” speaks for itself as to its legal meaning and contents and
 2   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
 3
     the language in that document or takes such language out of context.
 4
 5          167.   Defendants admit to the allegations contained in paragraph 167.

 6          168.   The allegations contained in paragraph 168 are vague and ambiguous relating to
 7
     an “independent valuation”; therefore, no response to these allegations is required. To the extent
 8
 9   a response is deemed required, Defendants deny the allegations contained in paragraph 168.

10          169.   The referenced “PPM” speaks for itself as to its legal meaning and contents and
11
     Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
12
     the language in that document or takes such language out of context.
13
14          170.   Defendants admit to the allegations contained in paragraph 170.
15          171.   The referenced “Form S-1” speaks for itself as to its legal meaning and contents
16
     and Defendants deny any allegations to the extent that they are inconsistent with or
17
18   mischaracterize the language in that document or takes such language out of context.

19          172.   The disclosures to investors speak for themselves as to their legal meaning and
20
     Defendants deny any allegations to the extent that they are inconsistent with those documents.
21
            173.   The allegations contained in paragraph 173 are vague and ambiguous, contain
22
23   conclusions of law, and pertain to parties other than Defendants; therefore, no response to these
24   allegations is required. To the extent a response is deemed required, Defendants deny the
25
     allegations contained in paragraph 173.
26
27          174.   Defendants deny the allegations contained in paragraph 174.

28
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                                      DEFENDANTS’ ANSWER
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 1          175.   Defendants deny the allegations contained in paragraph 175.
 2          176.   The referenced “Form S-1” speaks for itself as to its legal meaning and contents
 3
     and Defendants deny any allegations to the extent that they are inconsistent with or
 4
 5   mischaracterize the language in that document or takes such language out of context.

 6          177.   The allegations as to the effect of the “Form S-1” filed with the SEC, including
 7
     that it “offered” shares is a legal conclusion to which no response is required. To the extent a
 8
 9   response is deemed required, Defendants deny that the S-1 “offered” any shares at the time it

10   was filed with the SEC, prior to it becoming effective. Defendants further state that the
11
     referenced “Form S-1” speaks for itself as to its legal meaning and contents and Defendants
12
     deny any allegations to the extent that they are inconsistent with or mischaracterize the language
13
14   in that document or takes such language out of context.
15          178.   The referenced “Form S-1” speaks for itself as to its legal meaning and contents
16
     and Defendants deny any allegations to the extent that they are inconsistent with or
17
18   mischaracterize the language in that document or takes such language out of context.

19          179.   Shelby did not assist in the preparation of the Form S-1 and therefore denies the
20
     allegations in paragraph 179. Rose and Dirden admit that they provided information to assist in
21
     the preparation of the Form S-1 and reviewed it before it was filed, but not in its entirety. Rose
22
23   and Dirden affirmatively allege, however, that they hired professionals, including independent
24   auditors, and an outside consultant who in turn retained an attorney to assist and advise in the
25
     preparation and filing of the Form S-1 for SheBev. Defendants deny the allegations in
26
27   paragraph 179 to the extent it omits or is inconsistent with these additional facts.

28
                                                      27
                                       DEFENDANTS’ ANSWER
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 1          180.   The referenced “letter” speaks for itself as to its legal meaning and contents and
 2   Defendants deny any allegations to the extent that they are inconsistent with or mischaracterize
 3
     the language in that document or takes such language out of context.
 4
 5          181.   Defendants admit to the allegations contained in paragraph 181. Furthermore,

 6   Defendants state that they disclosed company financials to investors upon request prior to the
 7
     filing of the Form S-1, but they were not audited financials. The audited financials were
 8
 9   completed just prior to the filing of Form S-1.

10          182.   Defendants admit to the allegations contained in paragraph 182. However,
11
     Defendants affirmatively allege that it did not proceed further with the S-1 due to market
12
     conditions, including those caused by the COVID-19 pandemic, and that the SEC investigation
13
14   slowed progress on the S-1.
15          183.   Defendants deny the allegations contained in paragraph 183.
16
            184.   Defendants deny the allegations regarding “offering materials” as undefined,
17
18   vague and ambiguous. Rose admits to other allegations stated in paragraph 184 regarding her

19   role, but also states that she relied upon professional consultants to prepare the referenced
20
     documents and in order to understand the referenced documents. Furthermore, the signed
21
     documents, emails, and disclosures speak for themselves as to their legal meaning and
22
23   Defendants deny any allegations to the extent that they are inconsistent with those documents.
24          185.   Defendants deny the allegations regarding “offering materials” as undefined,
25
     vague and ambiguous. Shelby denies that allegations stating that she was the “most senior
26
27   financial officer” and that she “working directly with the consultant who assisted in the

28
                                                       28
                                       DEFENDANTS’ ANSWER
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 1   preparation of SHE Beverage’s offering materials.” Shelby admits to other allegations stated in
 2   paragraph 184 regarding her role, but also states that she relied upon professional consultants to
 3
     prepare the referenced documents and in order to understand the referenced documents.
 4
 5   Furthermore, the signed documents, emails, and disclosures speak for themselves as to their

 6   legal meaning and Defendants deny any allegations to the extent that they are inconsistent with
 7
     those documents.
 8
 9          186.   Defendants deny the allegations regarding “offering materials” as undefined,

10   vague and ambiguous. Dirden admits to other allegations stated in paragraph 184 regarding her
11
     role, but also states that she relied upon professional consultants to prepare the referenced
12
     documents and in order to understand the referenced documents. Furthermore, the signed
13
14   documents, emails, and disclosures speak for themselves as to their legal meaning and
15   Defendants deny any allegations to the extent that they are inconsistent with those documents.
16
            187.   Defendants admit to the allegations contained in paragraph 187.
17
18          188.   The allegations contained in paragraph 188 contain conclusions of law; therefore,

19   no response to these allegations is required. To the extent a response is deemed required,
20
     Defendants deny the allegations contained in paragraph 188.
21
            189.   The allegations contained in paragraph 189 contain conclusions of law; therefore,
22
23   no response to these allegations is required. To the extent a response is deemed required,
24   Defendants deny the allegations contained in paragraph 189.
25
            190.   The referenced “OM” and “PPM” speak for themselves as to their legal meaning
26
27   and Defendants deny any allegations to the extent that they are inconsistent with those

28
                                                     29
                                       DEFENDANTS’ ANSWER
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 1   documents.
 2          191.   Defendant deny the allegations contained in paragraph 191.
 3
            192.   The allegations contained in paragraph 192 contain conclusions of law; therefore,
 4
 5   no response to these allegations is required. To the extent a response is deemed required,

 6   Defendants deny the allegations contained in paragraph 192.
 7
            193.   Defendants admit that they had investors from numerous states.
 8
 9          194.   The allegations contained in paragraph 194 contain conclusions of law; therefore,

10   no response to these allegations is required. To the extent a response is deemed required,
11
     Defendants deny the allegations contained in paragraph 194.
12
            195.   The allegations contained in paragraph 195 are vague and ambiguous; therefore,
13
14   no response to these allegations is required. To the extent a response is deemed required,
15   Defendants deny the allegations contained in paragraph 195.
16
            196.   The allegations contained in paragraph 196 contain conclusions of law; therefore,
17
18   no response to these allegations is required. To the extent a response is deemed required,

19   Defendants deny the allegations contained in paragraph 196.
20
            197.   The allegations contained in paragraph 197 contain conclusions of law; therefore,
21
     no response to these allegations is required. To the extent a response is deemed required,
22
23   Defendants deny the allegations contained in paragraph 197.
24          198.   The allegations contained in paragraph 198 contain conclusions of law; therefore,
25
     no response to these allegations is required. To the extent a response is deemed required,
26
27   Defendants deny the allegations contained in paragraph 198.

28
                                                    30
                                      DEFENDANTS’ ANSWER
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 1                                  FIRST CLAIM FOR RELIEF
 2                Fraud in the Connection with the Purchase and Sale of Securities
 3                 Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                                       (against all Defendants)
 4
 5         199.   No response is required to paragraph 199.

 6         200.   Defendants deny the allegations contained in paragraph 200.
 7
           201.   Defendants deny the allegations contained in paragraph 201.
 8
 9         202.   Defendants deny the allegations contained in paragraph 202.

10         203.   Defendants deny the allegations contained in paragraph 203.
11
                                  SECOND CLAIM FOR RELIEF
12
                               Fraud in the Offer of Sale of Securities
13                         Violations of Section 17(a) of the Securities Act
14                                     (against all Defendants)
15         204.   No response is required to paragraph 204.
16
           205.   Defendants deny the allegations contained in paragraph 205.
17
18         206.   Defendants deny the allegations contained in paragraph 206.

19         207.   Defendants deny the allegations contained in paragraph 207.
20
           208.   Defendants deny the allegations contained in paragraph 208.
21
                                   THIRD CLAIM FOR RELIEF
22
23                            Unregistered Offer and Sale of Securities
                       Violations of Section 5(a) and 5(c) of the Securities Act
24                                     (against all Defendants)
25
           209.   No response is required to paragraph 209.
26
27         210.   Defendants deny the allegations contained in paragraph 210.

28
                                                  31
                                    DEFENDANTS’ ANSWER
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 1          211.   Defendants deny the allegations contained in paragraph 211.
 2          212.   Defendants deny the allegations contained in paragraph 212.
 3
            213.   Defendants deny each and every allegation in the Complaint that has not been
 4
 5   specifically and directly admitted, including, but not limited to, each header that the SEC used in

 6   its allegation section, and each allegation and paragraph in the section entitled, “Prayer for
 7
     Relief.”
 8
 9                                              DEFENSES

10          Without assuming any burden of proof that it would otherwise not bear, Defendants also
11
     assert the following defenses to the Plaintiff’s allegations and claims in the Complaint. These
12
     defenses are in addition to the defense that the claims asserted fail by reason of the lack of
13
14   evidence to prove, under the applicable burden of proof, each required element of those claims
15   and/or defenses by way of statutory defenses stated within the statutes cited by the Plaintiff for
16
     each cause of action.
17
18                                           FIRST DEFENSE

19          Plaintiff’s claims are barred, in whole or in part, because the Complaint fails to state a
20
     claim upon which relief can be granted.
21
                                           SECOND DEFENSE
22
23          Plaintiff’s claim for relief seeking disgorgement, restitution, and civil monetary penalties
24   violated the Excessive Fines Clause of the Eighth Amendment of the United States Constitution.
25
     Seeking disgorgement, restitution, and punitive civil penalties for the same conduct is
26
27
28
                                                      32
                                       DEFENDANTS’ ANSWER
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 1   duplicative, grossly disproportional to the alleged conduct, and excessive in contravention of the
 2   Eighth Amendment.
 3
                                             THIRD DEFENSE
 4
 5          Plaintiff’s claims and any remedies sought are barred or reduced, in whole or in part, to

 6   the extent that Plaintiff seeks relief beyond the applicable statutes of limitations or statutes of
 7
     repose.
 8
 9                                          FOURTH DEFENSE

10          The Plaintiff’s claims against Defendants are barred, in whole or in part, because
11
     Defendants acted in good faith and in the belief that their conduct conformed with all applicable
12
     laws and regulations at all material times.
13
14                                           FIFTH DEFENSE
15          Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,
16
     because the Defendants did not act with the requisite mental state with respect to any of the
17
18   alleged violations at issue.

19                                           SIXTH DEFENSE
20
            Plaintiff’s claims are barred, in whole or in part, to the extent they are based on the acts
21
     or omissions of other parties.
22
23                                         SEVENTH DEFENSE
24          The Plaintiff’s claims against Defendants are barred, in whole or in part, because
25
     Defendants reasonably relied in good faith upon the representations, information, opinions,
26
27   advice, professional judgment, and statements prepared or presented by legal counsel,

28
                                                       33
                                        DEFENDANTS’ ANSWER
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 1   professional advisors and industry experts, whom Defendants reasonably believed to be fully
 2   informed, honest, reliable, and competent in the matters presented.
 3
                                             EIGHTH DEFENSE
 4
 5          Defendants’ actions were consistent with industry and regulatory standards.

 6                                           NINTH DEFENSE
 7
            Defendants exercised appropriate business judgment and their actions were always
 8
 9   consistent with appropriate business judgment.

10                                           TENTH DEFENSE
11
            For Plaintiff’s claims requiring proof of scienter, evidence of recklessness is insufficient
12
     to satisfy the scienter requirement.
13
14                                          ELEVENTH DEFENSE
15          The Plaintiff’s claims against Defendants are barred, in whole or in part, because the any
16
     alleged misstatements, misrepresentations and/or omissions are not material and/or did not have
17
18   any material effect on any investor’s decision to purchase stock.

19                                          TWELFTH DEFENSE
20
            The Plaintiff’s claim for injunctive relief is barred because there has been no violation of
21
     the Securities Act or the Exchange Act, and because there is no reasonable likelihood that any
22
23   alleged violation will be repeated. The Plaintiff’s injunctive relief claim is further barred
24   because the adverse effects of an injunction far outweigh any benefit.
25
                                        THIRTEENTH DEFENSE
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27
28
                                                      34
                                       DEFENDANTS’ ANSWER
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 1          The Plaintiff’s claim for penalties is barred because any alleged violation was
 2   unintentional; the harm caused, if any, is insufficient to warrant a penalty; the lack or degree of
 3
     scienter does not support a penalty; Defendants have no previous violations; no deterrence
 4
 5   purpose would be served; Defendants acted in good faith; Defendants cooperated with all

 6   investigations; and it would be fundamentally unfair to impose penalties on Defendants in light
 7
     of the lack of fair notice that their conduct violated the law.
 8
 9                                      FOURTEENTH DEFENSE

10          The Plaintiff’s claim for an officer or director bar is barred because, inter alia, there has
11
     been no violation of the Securities Act or the Exchange Act and because Defendants are not
12
     unfit to serve as officers or directors of a public company.
13
14                                        FIFTEENTH DEFENSE
15          Any alleged injuries or damages sustained by the investing public were the direct and
16
     proximate result of one or more independent, unforeseeable, and superseding causes that were
17
18   outside of Defendants’ control.

19                                        SIXTEENTH DEFENSE
20
            Defendants presently have insufficient knowledge or information regarding whether they
21
     may have additional, as yet un-asserted defenses, and reserves the right to assert further defenses
22
23   as may become necessary as this case develops.
24                                     SEVENTEENTH DEFENSE
25
            The Plaintiff’s claims against Defendants are barred, in whole or in part, to the extent that
26
27   the underlying facts of the claims lack an offer or sale of securities in interstate commerce.

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                                                      35
                                        DEFENDANTS’ ANSWER
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 1                                      PRAYER FOR RELIEF
 2         WHEREFORE, having fully answered Plaintiff’s Complaint, Defendants pray that it be
 3
     dismissed as against them, that Defendants be awarded any fees, including attorney fees and
 4
 5   costs which are allowed by law, and that the Court grant such other relief as is deemed

 6   appropriate.
 7
                                     DEMAND FOR JURY TRIAL
 8
 9         Defendants hereby demand a trial by jury on any and all issues so triable.

10
     Dated: November 15, 2021                 Respectfully submitted,
11
                                              BUCHE & ASSOCIATES, P.C.
12
13                                            By: /s/ John K. Buche
                                              John K. Buche (SBN 239477)
14                                            Local Counsel
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18                                            PARSONS BEHLE AND LATIMER
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                                              Aaron D. Lebenta (pro hac vice forthcoming)
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                                              Salt Lake City, Utah 84111
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                                              Attorneys for Defendants
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                                                    36
                                      DEFENDANTS’ ANSWER
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 1                                 CERTIFICATE OF SERVICE
 2
           On November 15, 2021, I electronically filed this document with the Clerk’s
 3
 4   Office using the CM/ECF system, which then sent a Notice of Electronic Filing to all
 5   registered attorneys in this case.
 6
     Dated: November 15, 2021                          /s/ John K. Buche
 7                                                     John K. Buche
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                                     DEFENDANTS’ ANSWER
